              Case 6:17-bk-04478-CCJ       Doc 94     Filed 07/31/18    Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:
                                                    Case No.: 6:17-bk-04478-KSJ
Howard Scott Bassuk                                 Chapter 7

            Debtor.
________________________________/

                        FORD MOTOR COMPANY’S EXHIBIT LIST

                   Trustee’s Motion to Dismiss Bankruptcy Case (Doc. No. 42)
         Debtor’s Objection to Chapter 7 Trustee’s Motion to Dismiss Case (Doc. No. 49)
             Joinder in Trustee’s Motion to Dismiss Bankruptcy Case (Doc. No. 63)
                                   Trial Date: August 1, 2018

 Exh. #       Document Description                     Date            Date       With or
                                                       Identified      Admitted   Without
                                                                                  Objection
 1-A          BB&T Account Statement for AJB
              Capital Group 03/31/17 (000011-
              000014) (AJB - acct no. 5365)
 1-B          BB&T Account Statement for AJB
              Capital Group 06/30/17 (000019-
              000024) (AJB - acct no. 5365)
 1-C          BB&T Account Statement for AJB
              Capital Group 12/30/16 (000026-
              000027) (Bassuk - acct no. 8417)
 1-D          BB&T Account Statement for Howard
              Bassuk 03/31/17 (000028-000029)
              (Bassuk - acct no. 8417)
 1-E          BB&T Account Statement for Howard
              Bassuk 06/30/17 (000030-000031)
              (Bassuk - acct no. 8417)
 1-F          BB&T Account
              Deposits/Withdrawals/Cash Out Tickets
              for Howard Bassuk (000038-000076)
              (Bassuk - acct no. 8417)
 5-A          JP Morgan Chase Account Statement for
              Howard Bassuk and Michelle Charles
              01/29/16 (000187-000194) (Bassuk –
              acct no. 2272)
      Case 6:17-bk-04478-CCJ      Doc 94      Filed 07/31/18   Page 2 of 3




5-B   JP Morgan Chase Account Statement for
      Howard Bassuk and Michelle Charles
      02/29/16 (000195-000202) (Bassuk –
      acct no. 2272)
5-C   JP Morgan Chase Account Statement for
      Howard Bassuk and Michelle Charles
      03/31/16 (000203-000210) (Bassuk –
      acct no. 2272)
5-D   JP Morgan Chase Account Statement for
      Howard Bassuk and Michelle Charles
      04/29/16 (000211-000216) (Bassuk –
      acct no. 2272)
6-A   JP Morgan Chase Account Statement for
      MAD Enterprises 01/29/16 (000422-
      000428 (acct no. 3815)
6-B   JP Morgan Chase Account Statement for
      MAD Enterprises 02/29/16 (000447-
      000464) (acct no. 3815)
6-C   JP Morgan Chase Account Statement for
      MAD Enterprises 04/29/16 (000478-
      000480) (acct no. 3815)
6-D   JP Morgan Chase Account Statement for
      MAD Enterprises 05/25/16 (000483-
      000484) (acct no. 3815)
7-A   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 01/31/16
      (000001-000004) (acct no. 6710)
7-B   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 02/29/16
      (000005-000008) (acct no. 6710)
7-C   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 03/31/16
      (000009-000012) (acct no. 6710)
7-D   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 04/30/16
      (000013-000019) (acct no. 6710)
7-E   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 05/31/16
      (000020-000027) (acct no. 6710)
7-F   Wells Fargo Account Statement AJB
      Capital Group (AJB) for 06/30/16
      (000028-000036) (acct no. 6710)




                                      2
       Case 6:17-bk-04478-CCJ         Doc 94       Filed 07/31/18   Page 3 of 3




7-G    Wells Fargo Account Statement AJB
       Capital Group (AJB) for 07/31/16
       (000037-000042) (acct no. 6710)
7-H    Wells Fargo Account Statement AJB
       Capital Group (AJB) for 08/31/16
       (000043-000048) (acct no. 6710)
7-I    Wells Fargo Business Account
       Application AJB Capital Group (AJB)
       (000070-000074) (acct no. 6710)
7-J    Wells Fargo
       Withdrawals/Deposits/Checks AJB
       Capital Group (AJB) (000075-000136)
       (acct no. 6710)
8-A    Wells Fargo Account Statement for
       Defense Systems Group 02/29/16 (DSG)
       (0000001-000004) (acct no. 7945)
8-B    Wells Fargo Account Statement for
       Defense Systems Group 03/31/16 (DSG)
       (0000005-000009) (acct no. 7945)
8-C    Wells Fargo Account Statement for
       Defense Systems Group 04/30/16 (DSG)
       (0000010-000014) (acct no. 7945)
8-D    Wells Fargo Business Account
       Application Defense Systems Group
       (DSG) (0000054-000058) (acct no.
       7945)
9-A    1040 Tax Return for Howard Bassuk for
       2015 (000001-000009)
9-B    1040 Tax Return for Howard Bassuk for
       2016 (000010-000018)
13-A   Amy Bui’s texts with Howard Bassuk
       regarding Piguet watch (000037-000040;
       000044; 000064)
17     Voluntary Petition for Individuals Filing
       for Bankruptcy (Chap 7 filed by Bassuk
       on 07/05/17)
23     Defense Systems Group’s Principal
       Report from the Montana Secretary of
       State




                                          3
